     Case 4:92-cr-00137 Document 2171 Filed on 12/05/06 in TXSD Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                    }
               Plaintiff-Respondent          }
                                             }
v.                                           }      CRIMINAL ACTION NO. H-92-137-10
                                             }      CIVIL ACTION NO. H-05-46
CARMENZA GUZMAN VARON,                       }
               Defendant-Petitioner          }

                                 MEMORANDUM AND ORDER

       Presently before the Court are Petitioner Carmenza Guzman-Varon’s Motion to Vacate, Set

Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255 (Doc. 2094), the United States’

Answer and Motion to Dismiss (Doc. 2097), Petitioner’s Response to the Government’s Motion to

Dismiss (Doc. 2118), and the Magistrate Judge’s Memorandum and Recommendation Granting

Respondent’s Motion to Dismiss and Denying Movant’s § 2255 Motion to Vacate, Set Aside, or

Correct Sentence (Doc. 2122).

       After carefully considering the record and the applicable law, the Court GRANTS the

Government’s Motion to Dismiss (Doc. 2097), and DENIES Petitioner’s Motion to Vacate, Set

Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255 (Doc. 2094). Accordingly, this habeas

action is DISMISSED WITH PREJUDICE. The Court ADOPTS the Magistrate Judge’s

Memorandum and Recommendation (Doc. 2122) in full.

       SIGNED at Houston, Texas this 5th day of December, 2006.



                                             ________________________________
                                                     MELINDA HARMON
                                             UNITED STATES DISTRICT JUDGE
